          Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 1 of 9




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                   Case 1:22-cr-00064-RBW


     v.                                     Evidentiary Hearing Requested


 LLOYD CASIMIRO CRUZ, Jr.

          Defendants.



            DEFENDANT’S MOTION TO SUPRESS EVIDENCE AND
           TO DISMISS DUE TO FOURTH AMENDMENT VIOLATION
      COMES NOW Defendant Lloyd Casimiro Cruz, Jr, (“Cruz”) by and through

counsel, with this Motion to suppress evidence, and to dismiss due to the case

originating with a massive violation of the Fourth Amendment.            (All evidence

collected following the FBI’s metadata search of cellular location data was fruit of the

poisonous tree, and thus this case must be dismissed.)


I.    INTRODUCTION
      The Fourth Amendment provides that "no Warrants shall issue, but upon

probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized" (emphasis added). Yet

the entire complaint against the Defendant originated with an unlawful blanket

general warrant of cellphone location data, which plainly lacked requisite specificity.

Investigators then used such metadata to identify Cruz, rather than first having

probable cause to identify Cruz and probable cause to believe Mr. Cruz had committed

an offense, as required by the 4th amendment.
          Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 2 of 9




      Investigators then tracked down Cruz and obtained statements from him, as

well as other evidence. All of this evidence is fruit of the poisonous tree. Accordingly,

this case must be dismissed en toto.


      The Criminal Complaint in this case begins with a sworn affidavit by Sean

McDermott, Special Agent of the Federal Bureau of Investigation admitting on page

3 that:


          According to records obtained through a search warrant for
          records in the possession of Google, a mobile device associated
          with [****************@g****.com was present at the U.S.
          Capitol on January 6, 2021. Google estimates device location
          using sources including GPS data and information about nearby
          Wi-Fi access points and Bluetooth beacons. This location data
          varies in its accuracy, depending on the source(s) of the data. As
          a result, Google assigns a “maps display radius” for each location
          data point. Thus, where Google estimates that its location data
          is accurate to within 10 meters, Google assigns a “maps display
          radius” of 10 meters to the location data point. Finally, Google
          reports that its “maps display radius” reflects the actual location
          of the covered device approximately 68% of the time. In this
          case, Google location data showed that a device associated with
          [************@g****.com was within the U.S. Capitol Crypt at
          2:17:27 p.m. on January 6, 2021. Google records showed that
          the “maps display radius” for this location data was less than
          100 feet, which encompasses an area that is partially within the
          U.S. Capitol building. Google reported a recovery telephone
          number ending in 5584 for [***********@g****.com.


      The very next paragraph of the Criminal Complaint admits that the FBI then

used the unlawfully seized metadata from the above-described general warrant to

scour through another batch of metadata unlawfully seized via another general

warrant of AT&T records:
        Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 3 of 9




        According to records obtained through a search warrant for
        records in the possession of AT&T, on January 6, 2021, in and
        around the time of the incident, the cellphone associated with a
        telephone number ending in 5584 was identified as having
        utilized a cell site consistent with providing service to a
        geographic area that included the interior of the United States
        Capitol building.


      Then, following these two general warrants, Special Agent McDermott
states that:
        Login Internet Protocol (IP) address provided by Google, and
        research in public records, were used to identify LLOYD
        CASIMIRO CRUZ, JR., residing in Polo, Missouri, as the
        subscriber of telephone number ending in 5584.
(All of the block quotes above are from page 3 of FBI Special Agent McDermott’s

Criminal Complaint.)


SO: from the admissions of the investigating special agent, we know that:


      1.       The FBI began its investigation into (later to be identified) Cruz,

without any probable cause to suspect Cruz of any crime;

      2.       The FBI used two blanket general warrants (of both Google and AT&T)

to scour through cell phone and other digital metadata to then identify Cruz as a

potential suspect crime (although what crimes, if any, the FBI did not know);

      3.       Even after identifying Cruz as a potential suspect via these general

warrants, the FBI lacked probable cause to arrest him for any specific crime;

      4.       The FBI then flew to Missouri to question Cruz to determine if there

was any probable cause to charge Cruz with a crime or crimes; and
         Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 4 of 9




       5.     Only upon questioning Cruz and getting Cruz to provide other evidence

 did the FBI have probable cause to charge Cruz with any crime (two misdemeanors).


       The warrants in this case plainly lacked probable cause with any particularity

 regarding the person and things to be searched or even the crimes to be alleged.

 Indeed, it is plain that this case was initiated by one of the worst general warrants

 in American history. Counsel suspects that there may be other January 6 defendants

 who were similarly identified by these general warrants and asks the Court to utilize

 its inherent powers to open a more wide-ranging inquiry into the FBI’s use of these

 unconstitutional warrants.


       Cruz requests an evidentiary hearing in which all agents responsible

 for these warrants shall be made to appear, testify, and provide all

 supporting affidavits and/or documentation.


II.    THE METADATA SEARCH IN THIS CASE IS PRECISELY THE TYPE
       OF SEARCH WHICH THE FOURTH AMENDMENT WAS ENACTED
       TO ABOLISH.
       The Fourth Amendment traces its roots to a revolt against general warrants

 issued by the government in England in the 1760s. Royal ministers (the equivalent

 of today’s FBI) were in the practice of issuing warrants commanding investigators to

 search through London and find the identity of individuals who authored

 antigovernment pamphlets. Justice Potter Stewart, in Stanford v. Texas, 379 U.S.

 476, 482 (1965), recounted this history:
           Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 5 of 9




           It was in the context of the latter kinds of general warrants that
           the battle for individual liberty and privacy was finally won - in
           the landmark cases of Wilkes v. Wood, 19 How. St. Tr. 1153
           (1763). and Entick v. Carrington, 19 How. St. Tr. 1029 (1765).
           The Wilkes case arose out of the Crown's attempt to stifle a
           publication called The North Briton, anonymously published by
           John Wilkes, then a member of Parliament - particularly issue
           No. 45 of that journal. Lord Halifax, as Secretary of State, issued
           a warrant ordering four of the King's messengers "to make strict
           and diligent search for the authors, printers, and publishers of
           a seditious and treasonable paper, entitled, The North Briton,
           No. 45, . . . and them, or any of them, having found, to apprehend
           and seize, together with their papers." "Armed with their roving
           commission, they set forth in quest of unknown offenders; and
           unable to take evidence, listened to rumors, idle tales, and
           curious guesses. They held in their hands the liberty of every
           man whom they were pleased to suspect."
Stanford, 379 U.S. at 482.


         British investigators scoured through the streets of London, arresting and

interrogating 40 printers until one printer confessed that the author of the notorious

pamphlet was a member of Parliament: John Wilkes. The general warrant outraged

the people of Britain, as well as America’s Founding Fathers. 1


           In an opinion which this Court has characterized as a wellspring
           of the rights now protected by the Fourth Amendment, Lord
           Camden declared the warrant to be unlawful. “This power,” he
           said, “so assumed by the secretary of state is an execution upon
           all the party's papers, in the first instance. His house is rifled;
           his most valuable secrets are taken out of his possession, before
           the paper for which he is charged is found to be criminal by any
           competent jurisdiction, and before he is convicted either of
           writing, publishing, or being concerned in the paper.” Entick v.


1
    Note that the American Founding Fathers came to revere and idolize John Wilkes and Lord Camden (the
    British judge who invalidated the search warrants) so much that they named many American places,
    streets, cities, towns, and counties after them. Camden, New Jersey and Camden Yards (where the
    Baltimore Orioles play baseball) (on Camden Street), for example, are named for Lord Camden. Wilkes
    County, Georgia, Wilkes County, North Carolina, and Wilkes-Barre, Pennsylvania are named (in whole
    or in part) for John Wilkes.
        Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 6 of 9




        Carrington. Thereafter, the House of Commons passed two
        resolutions condemning general warrants . . . .
Id. at 484.


      Stanford v. Texas involved a search warrant authorizing seizure of “books,

records, pamphlets, cards, receipts, lists, memoranda, pictures, recordings and other

written instruments concerning the Communist Party of Texas, and the operations

of the Communist Party in Texas.” Some 2000 items were seized, most relating to

petitioner’s (Stanford's) mail order business.   The Supreme Court held that the

warrant was a general warrant forbidden by U.S. Const. amend. IV. The Court held

that the indiscriminate sweep of the language of the warrant was constitutionally

intolerable. “The world has greatly changed,” wrote Justice Stewart, “and the voice

of nonconformity now sometimes speaks a tongue which Lord Camden might find

hard to understand. But the Fourth and Fourteenth Amendments guarantee to John

Stanford that no official of the State shall ransack his home and seize his books and

papers under the unbridled authority of a general warrant.” Id. at 486.


      Here, in the case of defendant Cruz, the warrant(s) were even more general

and disconnected from particularity. The government didn’t even know who they

were searching for or even what specific crimes they were investigating.            In

application, there is little difference between a general warrant allowing “a search

warrant for records in the possession of Google” of location data of all cell phones in

the area of the Capitol on January 6 to identify suspects who breached the Capitol,

and the general warrant in 1962 allowing investigators to search every printshop in

London until they identified the printer who printed The North Britain 45.
          Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 7 of 9




        The warrants here were general warrants by every definition. Because the two

  metadata warrants were general warrants in violation of the Fourth Amendment, all

  evidence resulting therefrom must be excluded and suppressed.


III.    ALL EVIDENCE AGAINST CRUZ COLLECTED AFTER THE TWO
        GENERAL WARRANTS IS FRUIT OF THE POISONOUS TREE
        Evidence derived from an illegal search or seizure must be suppressed unless

  the government can show intervening circumstances sufficient to break the causal

  connection between the Fourth Amendment violation and the resulting evidence. See

  Brown v. Illinois, 422 U.S. 590, 602-03 (1975).      Here there is no break in the

  connection whatsoever, as the FBI’s identification and targeting of Cruz—and later

  Cruz’ statements and images—led directly to all other evidence. The exclusionary

  rule extends to any fruits of a Fourth Amendment violation — “whether such evidence

  be tangible, physical material actually seized in an illegal search, items observed, or

  words overheard in the course of the unlawful activity, or confessions or statements

  of the accused obtained during an illegal arrest and detention.” See United States v.

  Crews, 445 U.S. 463, 470 (1980); see also United States v. Jones, 374 F. Supp. 2d 143,

  153 (D.D.C. 2005); United States v. Wiggins, 211 F. Supp. 2d 81, 87-90 (D.D.C. 2002);

  United States v. Henry, 797 F. Supp. 1, 5 (D.D.C. 1992).


        Defendant Cruz would not have been questioned by FBI but for the illegal

  general warrants executed upon Google and AT&T. Cruz’ statements and all the

  photos and video he provided are fruit of the poisonous tree.
        Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 8 of 9




IV.    CONCLUSION
       For all of the foregoing reasons, the evidence in this case must be suppressed;

 and the case against Cruz must be dismissed.


 Dated: August 27, 2022   Respectfully submitted,




                                       John Pierce Law, P.C.


                                       By: /s/John M. Pierce
                                       John M. Pierce
                                       jpierce@johnpiercelaw.com
                                       21550 Oxnard St., 3rd Fl PMB 172
                                       Woodland Hills, CA 91367
                                       Telephone: (213) 349-0054
        Case 1:22-cr-00064-RBW Document 34 Filed 08/27/22 Page 9 of 9




                          CERTIFICATE OF SERVICE
      I hereby certify that, on August 27, 2022, the foregoing document was filed

via the Court’s electronic filing system, which constitutes service upon all counsel

of record.

                                        /s/ John M. Pierce
                                        John M. Pierce
